
THE COURT.
Petition for a writ of prohibition.
Prohibition runs only against excess of jurisdiction on the part of the tribunal whose proceedings are sought to be arrested thereby. No showing whatever of excess of jurisdietion on the part of the superior court of the city and county of San Francisco is made by the petitioner.
The petition filed herein contains much matter that is absolutely immaterial in view of the nature of the application, impertinent and scandalous. Certainly this is true of all of paragraphs 24 to and including paragraph 30 thereof.
It is ordered that paragraphs 24 to and including paragraph 30 be, and the same are hereby, stricken from the petition, and that the petition be,-and the same is hereby, denied.
